              IN THE UNITED STATES DISTRICT COURT FOR THE
                    MIDDLE DISTRICT OF PENNSYLVANIA

THE PENNSYLVANIA STATE
UNIVERSITY,

Plaintiff,                          Case No. 4:21-cv-01091-MWB
                                    Hon. Matthew W. Brann
               v.
                                    JURY TRIAL DEMANDED
VINTAGE BRAND, LLC;
SPORTSWEAR, INC., dba PREP
SPORTSWEAR; CHAD
HARTVIGSON; ERIK
HARTVIGSON; MICHELLE
YOUNG


Defendants.

    Brief in Support of Penn State’s Partial Summary Judgment Motion
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                                       I.    INTRODUCTION

        This is a classic case of trademark infringement and counterfeiting. Penn

State owns long-established rights in well-known trademarks, and Defendants have

used those same marks to sell the same merchandise to the same group of consumers

as Penn State. As shown by the below selection of genuine Penn State and infringing

Vintage Brand merchandise, likelihood of confusion is unquestionable, because

Defendants’ products are visually indistinguishable from the real thing:




In fact, Plaintiff trusts that without further information, readers of this brief will be

unable to tell which of the items above are genuine licensed Penn State merchandise,

and which are copycats from Vintage Brand.1

1
 See infra p. 45 for an answer key distinguishing genuine Penn State merchandise from the infringing Vintage
Brand merchandise.


                                                        1
      Defendants try to complicate the uncomplicated with a variety of legal

arguments and defenses, but in the past year of discovery, they have not adduced

any evidence that would support their defenses or excuse their unlawful conduct.

Nor can they—the use of identical versions of registered marks on the registered

goods is counterfeiting, the most egregious form of trademark infringement, and

Defendants’ conduct runs squarely afoul of the plain language of the Lanham Act.

Absent Congressional action amending that statute, Defendants’ conduct is

unlawful, and summary judgment as to liability should be granted.

      Summary judgment should also be granted on Defendants’ invalidity

counterclaims and affirmative defenses.      Penn State’s trademarks are largely

incontestable and fall squarely within the definitions of registrable trademarks set

forth by the United States Patent and Trademark Office (“USPTO”). Yet despite

bearing the burden of proof (and the requirement that they overcome the strong

evidentiary presumptions that accompany registered marks), Defendants cannot

point to any evidence of invalidity. Defendants have produced no evidence showing

that Penn State does not own valid and enforceable trademark rights or showing that

these marks are merely ornamental.

      The relevant facts here are straightforward and undisputed. Judgment should

be granted to Penn State as a matter of law on its claims for trademark infringement,




                                         2
counterfeiting, unfair competition, and false endorsement, as well as on Vintage

Brand’s counterclaims, and related affirmative defenses.

           II.   STATEMENT OF MOST PERTINENT FACTS2

      The Pennsylvania State University (“Penn State” or “the University”) is

Pennsylvania’s flagship public research university. (SMF ¶ 1). Penn State educates

approximately one-hundred thousand students each academic year across

Pennsylvania and online and has one of the largest alumni bases in the country.

(SMF ¶¶ 2-4). Penn State provides a top-quality education and through recognition

of its educational and athletic services has developed a strong and loyal base of

students, alumni, and fans who support the University. (SMF ¶¶ 1-5). For decades,

Penn State has also sold branded merchandise at its bookstore and through local and

national online and brick and mortar retailers. (SMF ¶¶ 12-13, 18-19, 28-29, 35-41,

46-47, 51-54, 68).

      Penn State has developed rights in a number of trademarks that it uses to

distinguish its various goods and services. (SMF ¶¶ 6-48). Among these marks are

the following, which are at issue in this case:

       MARK                    ABBREVIATION         U.S. REGISTRATION NOS.
     PENN STATE                 (“PENN STATE         • 1308610 (incontestable)
                                    Mark”)           • 5766698



2
 Penn State refers the Court to its Statement of Undisputed Material Facts (“SMF”).
For the Court’s convenience, it restates the core undisputed story here.

                                           3
       MARK                  ABBREVIATION          U.S. REGISTRATION NOS.
       THE                    (“TPSU Mark”)         • 1315693 (incontestable)
   PENNSYLVANIA                                     • 5399989
 STATE UNIVERSITY                                   • 5742516
                           (“Lion Shrine Logo”)     • 1350286 (incontestable)
                                                    • 1397810 (incontestable)




                           (“Pozniak Lion Logo”)     • 5305910



                           (“University Seal”)       • 1276712 (incontestable)
                                                     • 5877080



                           (“S Lion Logo”)         None (protected by common
                                                   law rights)




(collectively, the “University Marks”). (SMF ¶¶ 6-48). Penn State has been using

each of the University Marks continuously in commerce for years, going back before

2018—when the infringement at issue began. (SMF ¶¶ 7-8, 14, 24, 30, 40, 42).

      Penn State uses the University Marks for many different services and

products, ranging from educational and alumni services to merchandise such as

apparel and accessories, magnets, wall art, and other household accessories. (SMF

¶¶ 1-47). Penn State sells some of its merchandise directly and some through


                                        4
licensees. (SMF ¶¶ 13, 19, 29, 37, 40, 47). Since developing its licensing program

in the 1980s, Penn State has found that licensing has been an effective way to control

and develop its brands and ensure that goods and services associated with its brands

are of high quality. (SMF ¶¶ 55-67). Penn State is also able to receive a portion of

the licensees’ profits, which Penn State reinvests in student scholarships and other

programs, further supporting the University’s mission of providing top-notch

education. (SMF ¶ 65).

      Defendants here are Vintage Brand and its affiliated company (Sportswear,

Inc.) and the three individuals who run and make decisions for Vintage Brand (Chad

Hartvigson, Erik Hartvigson, and Michelle Young). (SMF ¶¶ 69-89). Vintage

Brand is an e-commerce website that sells clothing and other merchandise related to

various colleges and universities, as well as some professional sports teams. (SMF

¶¶ 69-73, 127). Vintage Brand’s website, <vintagebrand.com>, is organized into

different “stores” for specific colleges and sports teams. (SMF ¶¶ 70-73, 97-100,

127-129). Customers navigate the site to the “store” for their chosen team, and have

the option to buy t-shirts, hats, glassware, magnets, and other merchandise that bear

various logos from their school or team. (SMF ¶¶ 70-73). Vintage Brand admits

that it uses virtually indistinguishable copies of logos and word marks (such as

PENN STATE) that schools themselves have used and registered as trademarks.

(SMF ¶¶ 74-80, 113). In fact, Vintage Brand sources its images directly from


                                          5
genuine branded merchandise that its members have acquired. (SMF ¶¶ 74-80).

Vintage Brand manually scans those items, producing digital images that are then

put unchanged (with the exception of formatting changes necessary for printing)

onto the website where customers can purchase merchandise bearing these copied

images. Id.

      Vintage Brand does not actually manufacture any products itself or distribute

items to customers.     (SMF ¶ 73).     Those functions are provided, instead, by

Sportswear.    (SMF ¶ 87).     Vintage Brand simply buys and scans pictures of

collegiate and sports-related memorabilia, offers the products for sale on its website,

and collects profits from sales of the products that Sportswear manufactures, and

distributes. (SMF ¶¶ 69-80).

      Vintage Brand launched a store on the Vintage Brand Website featuring Penn

State merchandise in 2018, all offered without authorization from Penn State. (SMF

¶¶ 90, 141). The webpage for this store is titled “Penn State Nittany Lions Vintage

Designs for Apparel & Gear” and offers items such as:




(SMF ¶¶ 97-100, 113).




                                          6
      Vintage Brand’s website is virtually indistinguishable from the e-commerce

sites that sell licensed Penn State collegiate merchandise. (Compare SMF ¶ 132 with

¶¶ 100-101). Vintage Brand sells the exact same sort of merchandise that Penn State

sells and authorizes. (SMF ¶¶ 121-134). Vintage Brand uses identical copies of

Penn State’s trademarks on its merchandise and throughout its website. (SMF ¶¶ 91-

113, 162). Vintage Brand solicits customers through dynamic internet searching

tools that will show links to their website when consumers search for collegiate

merchandise and promotes its products at Penn State events alongside authorized

merchandise. (SMF ¶¶ 83, 128, 135). And the Vintage Brand website is designed

to include specific subpages (or “stores”) for the various colleges for which

Defendants sell related merchandise—much like how authorized collegiate sellers

organize their sites. (Compare SMF ¶ 132 with ¶¶ 100-101). The difference here is

that Vintage Brand has never asked for (or received) permission to use Penn State’s

marks, Penn State has no ability to control Vintage Brand’s use of the Penn State

trademarks, and Penn State does not receive any portion of Vintage Brand’s

revenues. (SMF ¶¶ 141-142).

      Defendants’ counterfeiting has, of course, caused actual confusion in the

marketplace. Discovery showed that a Vintage Brand customer (and Penn State

graduate) has already been confused by the Vintage Brand website, incorrectly

believing that Penn State had licensed or authorized the merchandise. (SMF ¶¶ 136-


                                        7
137). While evidence of actual confusion is not required, when present it strongly

supports liability. In addition, expert David Franklyn tested the likelihood of

confusion for two different t-shirt designs sold by Defendants and found significant

net confusion levels, with 27-39% of respondents confused as to source,

sponsorship, affiliation, or licensure. (SMF ¶¶ 138-140). Defendants’ own expert

acknowledges that Defendants’ small print “disclaimer” has no impact on consumer

confusion. (SMF ¶ 111).

                     III.   PROCEDURAL HISTORY

      Penn State sent a cease and desist letter to Vintage Brand in December 2020.

(SMF ¶ 151). After Defendants failed to stop infringing the University Marks, Penn

State brought this action against Vintage Brand on June 21, 2021. Dkt. 1. During

the pleading and discovery stages of this action, the parties have amended their

claims and defenses.    The operative pleadings here are Penn State’s Second

Amended Complaint, filed October 21, 2022, which asserts claims for trademark

infringement, counterfeiting, unfair competition, dilution, and false endorsement

against Vintage Brand as well as Sportswear, Inc., Chad Hartvigson, Erik

Hartvigson, and Michelle Young.       Dkt. 67.   Vintage Brand has asserted two

counterclaims against Penn State, seeking to cancel three of Penn State’s trademark

registrations. Dkt. 72. The remaining Defendants have each filed Answers and

Defenses matching those filed by Vintage Brand (see Dkt. 75, 76, 77, 78), but those


                                         8
Defendants did not file counterclaims.3 The parties have now concluded fact and

expert discovery, and each side has a Daubert motion pending, seeking to partially

exclude the other’s expert witnesses. See Dkt. 93, 95.

      Penn State now moves for summary judgment under FRCP 56 on its claims

against   all   Defendants     on   trademark   infringement,   unfair   competition,

counterfeiting, and false endorsement, as well as on the counterclaims asserted by

Vintage Brand, and on the Defendants’ affirmative defenses for ornamentality,

functionality, and fair use.

                       IV.     STANDARD OF REVIEW

      Summary judgment is proper where the record of pleadings, discovery

material, and affidavits show “no genuine dispute as to any material fact.” Fed. R.

Civ. P. 56(c). “Where the record taken as a whole could not lead a rational trier of

fact to find for the non-moving party, there is no ‘genuine issue for trial.’”

Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986).

Although the court must draw reasonable inferences in the non-movants’ favor, the

motion is decided based on the evidence in the record. Am. Diabetes Ass’n v.




3
  Given that the pleadings of Sportswear Inc., Chad Hartvigson, Erik Hartvigson,
and Michelle Young are identical to the answers and defenses filed by Vintage
Brand, for the purpose of simplicity, Penn State cites only to the responsive pleading
filed by Vintage Brand.

                                          9
Friskney Family Trust, LLC, 177 F. Supp. 3d 855, 865 (E.D. Pa. 2016) (summary

judgment cannot be defeated by unsupported or conclusory allegations).

                              V.    ARGUMENT

      This case is ripe for summary judgment. There is no disputed issue of material

fact here, and judgment should be granted to Penn State as a matter of law on Counts

I-IV, and VII of Penn State’s Second Amended Complaint, as well as on Vintage

Brand’s Counterclaims and on Defendants’ Affirmative Defenses 2-3 and 7-8.

      A. Judgment Should be Granted to Penn State on Penn State’s
         Infringement, Unfair Competition, Counterfeiting, and False
         Endorsement Claims.

             1. Defendants Are Liable for Federal Trademark Infringement
                and Unfair Competition (Counts I, III, VII).

      Summary judgment should be granted in Penn State’s favor as to Counts I,

III, and VII of the Second Amended Complaint, which allege trademark

infringement and unfair competition. These claims turn on whether Penn State owns

valid marks and Defendants have used those marks in a manner likely to confuse

consumers. A&H Sportswear, Inc. v. Victoria’s Secret Stores, Inc., 237 F.3d 198,

210 (3d Cir. 2000) (standard for federal trademark infringement and unfair

competition claims); Giannone v. Giannone, 429 F. Supp. 3d 34, 39 (E.D. Pa. 2019)

(applying standard to Pennsylvania common law unfair competition claims).4


4
  The sole difference between the federal and Pennsylvania claims is that the federal
trademark infringement and unfair competition claims contain an interstate

                                         10
      On the confusion element, the Lanham Act makes several types of consumer

confusion actionable—including confusion as to who makes a product as well as

confusion about who authorizes or sponsors a product.                 See 15 U.S.C.

§ 1125(a)(1)(A) (creating cause of action for using “any word, term, name, symbol,

or device, or any combination thereof, or any false designation of origin” in a manner

that “is likely to cause confusion, or to cause mistake, or to deceive as to the

affiliation, connection, or association of such person with another person, or as to

the origin, sponsorship, or approval of his or her goods, services, or commercial

activities by another person”); see Int’l Info. Sys. Sec. Certification Consortium, Inc.

v. Security Univ., LLC, 823 F.3d 153, 161 (2d Cir. 2016) (vacating summary

judgment decision where district court held that only confusion as to source was

actionable, stating “the Lanham Act protects against numerous types of confusion,

including confusion regarding affiliation or sponsorship”, and collecting cases);

A&H Sportswear, 237 F.3d at 216 (“Marks are confusingly similar if ordinary

consumers would likely conclude that [the two products] share a common source,



commerce requirement. See Pennzoil-Quaker State Co. v. Smith, No. 2:05cv1505,
2008 WL 4107159, *9 n.12 (W.D. Pa. Sept. 2, 2008) (noting this single difference
in infringement inquiry, and further stating that analysis is otherwise identical).
Under either claim, there is no dispute that Defendants sell merchandise bearing the
Infringing Marks on the internet to customers throughout the United States,
including in Pennsylvania. (SUMF ¶ 90). This constitutes use in commerce. See
Dluhos v. Strasberg, No. CIV.A. 00-3163 (JCL), 2005 WL 1683696, at *7 (D.N.J.
June 24, 2005) (defendant used infringing marks in commerce by operating website).

                                          11
affiliation, connection or sponsorship.”) Here, the undisputed facts show that

summary judgment is appropriate.

                      a. Penn State Owns Valid and Legally Protected Marks.
      There is no dispute that Penn State owns valid marks. Ownership can be

shown in two ways. First, a federal registration creates a presumption of ownership,

and where a registration is incontestable, the Lanham Act provides that the

registration is conclusive proof of ownership. See Commerce Nat’l Ins. Servs., Inc.

v. Commerce Ins. Agency, Inc., 214 F.3d 432, 438 (3d Cir. 2000) (“If the mark at

issue is federally registered and has become incontestable, then validity, legal

protectability, and ownership are proved.”). Second, even where a mark is not

registered, ownership can be proved through evidence that the plaintiff has been

continuously using a distinctive mark in commerce. Berner Int’l Corp. v. Mars Sales

Co., 987 F.2d 975, 979 (3d Cir. 1993).

      Here, Penn State owns valid and incontestable trademark registrations for the

PENN STATE Mark, the TPSU Mark, the Lion Shrine Logos, the Pozniak Lion

Logo, and the University Seal (together, the “Registered Marks”). (SMF ¶¶ 7, 9-

11, 14-17, 24-27, 30-34, 42-45), supra at pp. 3-4. Therefore, the Registered Marks

are presumed, by law, to belong to Penn State, satisfying the ownership element for

Penn State’s claims for trademark infringement and unfair competition. See New

Balance Athletics, Inc. v. USA New Bunren Int’l Co., 424 F. Supp. 3d 334, 346 (D.



                                         12
Del. 2019) (on summary judgment motion, finding ownership element satisfied

where plaintiff showed evidence of incontestable federal registrations).

      The only mark at issue which is not protected by a federal registration is the

S Lion Logo. Supra at p. 4. Penn State has been using the S Lion Logo continuously

since at least 2015 in connection with t-shirts, sweatshirts, hats, wall hangings, mugs,

koozies, glassware, and other products. (SUMF ¶¶ 38-41). Penn State therefore

owns valid and enforceable rights in this mark. See Kars 4 Kids Inc. v. America

Can!, 8 F.4th 209, 219 (3d Cir. 2021) (common law ownership of a trademark is

shown through continuous use of that mark in commerce). Further, the S Lion Logo

is inherently distinctive as it combines multiple elements that are themselves

distinctive (such as the word “Penn State” and an image of an African lion), against

the background of a stylized “S”. (SMF ¶ 38). See Star Indus., Inc. v. Bacardi &

Co., 412 F.3d 373, 382 (2d Cir. 2005) (stating that logos comprising separate

elements which are themselves inherently distinctive along with stylized shapes or

letters can be inherently distinctive); Nike, Inc. (Substituted For Official Starter

LLC) v. WNBA Enterprises, LLC, 85 U.S.P.Q.2d 1187, 2007 WL 763166 (T.T.A.B.

2007) (finding that a composite logo of a star and the letter “S” was strong in context

of a likelihood of confusion analysis). Given that Penn State’s continuous use of the

S Lion Logo predates when Vintage Brand was even founded or started its website

(SMF ¶ 40), Penn State has priority and is entitled to enforce its common law rights


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in this Logo here. See Kars 4 Kids, 8 F.4th at 219 (upholding ruling that party who

had continuously used mark first owned common law trademark rights).

      Thus, there is no genuine dispute that Penn State owns valid and enforceable

rights in each of the University Marks.

                       b. Defendants are Using Identical Marks on Competing
                          Goods, Warranting Judgment as a Matter of Law.

      There is similarly no genuine dispute that the parties are in direct competition

here. Where parties directly compete with respect to the goods in question, “the

court need rarely look beyond the mark itself” in assessing trademark infringement.

Interpace Corp. v. Lapp, Inc., 721 F.2d 460, 462 (3d Cir. 1983). The likelihood of

confusion turns on whether the marks at issue are “confusingly similar” in

appearance. Country Floors, Inc. v. Gepner, 930 F.2d 1056, 1063 (3d Cir. 1991).

See also S & R Corp. v. Jiffy Lube Int’l, Inc., 968 F.2d 371, 375 (3d Cir. 1992) (“We

have held that ‘there is a great likelihood of confusion when an infringer uses the

exact trademark’ as the plaintiff”) (internal citations omitted); Cartier Int’l A.G. v.

Daniel Markus, Inc., No. 10-1459, 2013 WL 5567150, at *8 (D.N.J. Oct. 8, 2013)

(likelihood of confusion “clearly” established where marks on counterfeit products

were identical to registered marks).

      Direct Competition. Here, the evidence shows that Penn State and Vintage

Brand directly compete sales of the merchandise at issue.           Defendants have

advertised, offered, and sold t-shirts, sweatshirts, hats, socks, mugs, tumblers,


                                          14
drinkware, koozies, coasters, water bottles, posters, wall art, magnets, cutting boards,

and puzzles. (SMF ¶¶ 71, 162). Penn State sells these same products. (SMF ¶¶ 12-

13, 18-19, 28, 37, 39-41, 46, 121-123, 162). And the parties are selling to an

overlapping set of customers–—people looking to buy Penn State-related

merchandise online. (SMF ¶¶ 53-54, 124, 127-129). To this end, Defendants have

conceded that their primary competitors are companies like Fanatics and Homefield,

both of which sell authorized Penn State merchandise, including merchandise with

a “vintage” style. (SMF ¶¶ 126, 131-134). Thus there is no dispute that the parties

here directly compete.

      Similarity of Marks. Similarly, the evidence is clear that Defendants use the

University Marks—or nearly identical versions—on their merchandise.

      First, for the two word marks at issue (the PENN STATE and TPSU Marks),

Defendants have clearly used these exact marks. Penn State owns rights in those

marks regardless of the color, font, or stylization used. (SMF ¶¶ 9-11, 14-17); In re

Mighty Leaf Tea, 601 F.3d 1342, 1348 (Fed. Cir. 2010) (affirming decision that

trademark registration for words in standard character format applied to various

renditions of that mark); 37 CFR § 2.52(a) (describing meaning of standard character

marks). Defendants have used both word marks on many of the designs they sell,

using identical copies of Penn State’s trademarks “PENN STATE” and “THE

PENNSYLVANIA STATE UNIVERSITY”. (SMF ¶¶ 113, 162). Examples of the


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images that Defendants have applied to merchandise bearing the PENN STATE and

TPSU Marks are included here:




(SMF ¶ 92).

      Second, Defendants have used nearly identical iterations of the University

Seal. (SMF ¶ 113 at pp. 59, 61, ¶ 162 at pp. 88-91). The Seal also appears on many

of the Penn State-related designs Defendants used, with minimal if any alteration.

(SMF ¶¶ 92, 113, 162). The only apparent visual differences in Defendants’ use is

that in one version, they removed the year “1855” from the bottom of the Seal, while

in other versions, they left this year in place but with the Seal appearing partially

behind an image of a lion, as seen in the following close-ups of Defendants’ designs:




(SMF ¶ 113 at p. 59, ¶ 162 at p. 89). Those renderings of the Seal used by

Defendants are nearly indistinguishable from the University Seal. Given that

Defendants’ version includes the same wording, shape, series of concentric circles,


                                         16
fluting, and intricate imagery at the center of the seal, the marks provide the same

commercial impression. See Sunquest Info. Sys., Inc. v. Park City Sol’ns, Inc., 130

F. Supp. 2d 680, 693 (W.D. Pa. 2000) (“No doubt a discerning lawyer or calculating

consumer could parse these marks until they appear to have little in common, but it

is not my charge to perform such legal surgery.” (internal quotation marks omitted)).

Defendants are not saved by their tweaks to Penn State’s mark. See Baker v. Master

Printers Union, 34 F. Supp. 808, 811 (D.N.J.1940) (“Of course, few would be stupid

enough to make exact copies of another’s mark or symbol. It has been well said that

the most successful form of copying is to employ enough points of similarity to

confuse the public with enough points of difference to confuse the courts.”).

      With respect to the S Lion and Pozniak Lion Logos, Vintage Brand has used

identical versions of these marks, as seen here:




(SMF ¶¶ 95, 113 at pp. 48, 59, 61). There is no dispute that Defendants are using

marks that are “substantially indistinguishable” from Penn State’s registered and

unregistered trademarks. 15 U.S.C. § 1127.




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      Finally, Defendants’ uses of pictures of the Lion Shrine are also highly similar

to the Lion Shrine Logo owned by Penn State. Penn State owns two incontestable

registrations covering this logo that it has continuously used for decades, each

showing the profile of the Nittany Lion Shrine that is iconic to the Penn State

community. (SMF ¶¶ 24-26). The image Defendants use is a near identical iteration,

showing the Nittany lion in profile, on the rock.

      Lion Shrine Logo            Defendants’ Infringing Merchandise and Image




(SMF ¶ 100, ¶ 113 at p. 60). Because these logos are near identical, they too weigh

in favor of a likelihood of confusion. See Nike, Inc. v. E. Ports Custom Brokers,

Inc., 2018 WL 3472628, at *4 (D.N.J. July 19, 2018) (where direct competitor of

Nike sold shoes bearing marks that were “near-identical” to Nike’s shoes and marks,

likelihood of confusion was established).

      It’s no surprise that Vintage Brand is using identical or nearly identical copies

of the University Marks, given that they simply scan Penn State merchandise to

extract images, and then copy the images onto their own merchandise. (SMF ¶¶ 74-

80). They start with Penn State trademarks, and they put out products with Penn

State trademarks.


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      Given that Defendants are using identical or nearly identical marks on

competing goods, no further analysis is necessary for Penn State’s counterfeiting

(Count II), trademark infringement (Counts I and VII) and unfair competition (Count

III) claims: Defendants are liable on Penn State’s trademark infringement and unfair

competition claims. See Pappan Enters., Inc. v. Hardee’s Food Sys., Inc., 143 F.3d

800, 804 (3d Cir. 1998) (“where the identical mark is used concurrently by unrelated

entities, a likelihood of confusion is inevitable”); Coach, Inc. v. Bag Place, Co., No.

10-6226, 2012 WL 13028160, *3-4 (D.N.J. May 7, 2012) (granting summary

judgment where defendant used plaintiff’s trademarks on products that directly

competed with plaintiff’s products).

                       c. Though Unnecessary, Applying the Lapp Factors Shows
                          Penn State is Entitled to Summary Judgment.

      While it is not necessary here to apply the traditional multi-factor test for

likelihood of confusion, if the Court were to apply that analysis, the result would

still be that Penn State is entitled to judgment as a matter of law on infringement and

unfair competition. This Circuit applies the Lapp factors to gauge likelihood of

confusion, looking at (1) the similarity of the marks; (2) the strength of the owner’s

mark; (3) the price of goods and amount of care purchasers will exercise; (4) &

(6) actual confusion and length of time that the goods have been sold without

confusion arising; (5) defendant’s intent in adopting the mark; (7) marketing

channels; (8) overlapping markets; (9) similarity of goods; and (10) evidence that


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owner might expand markets. Arrowpoint Cap. Corp. v. Arrowpoint Asset Mgmt.,

LLC, 793 F.3d 313, 319 (3d Cir. 2015); see also Interpace Corp. v. Lapp, Inc., 721

F.2d 460, 463 (3d Cir. 1983).

        These factors weigh heavily in Penn State’s favor. As explained above,

Vintage Brand is using marks that are identical or nearly identical to the University

Marks, sells the same goods as Penn State, and the parties share the same customer

base. See supra, § V.A.1.b. Therefore, Lapp factor 1 (similarity of the marks),

factor 8 (overlapping markets), and factor 9 (similarity of the goods) all weigh

strongly in favor of Penn State, and factor 10 (potential expansion) is not relevant

given that Penn State is already in the same market as Vintage Brand. See AVS

Found. v. Eugene Berry Enters., LLC, No. 11-cv-01084, 2011 WL 6056903, at *7

(W.D. Pa. Dec. 6, 2011) (finding likelihood of confusion where defendant sold shirts

bearing plaintiff’s TERRIBLE TOWEL-related marks because those products were

targeted to the same Pittsburgh Steelers fans as were plaintiff’s products). And Lapp

factor 3 (price of goods and purchaser care), factor 4 (actual confusion), and factor

6 (length of time without confusion) similarly support Penn State here because the

parties’ merchandise is comparably priced and t-shirts are not complex purchases

(SMF ¶ 130), and because within just a few years of sales, evidence has arisen of

customer confusion and a consumer survey shows actual confusion. (SMF ¶¶ 136-

140).


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      Further, Penn State’s marks are strong (Lapp factor 2) as they have all been

used exclusively by Penn State for decades, Penn State invests in developing and

promoting those marks, and nearly all of the marks are protected by federal

registrations, many of them incontestable. (SMF ¶¶ 7, 9-11, 14-17, 24-27, 30-34,

42-45), supra at pp. 3-4. See Pennzoil-Quaker, 2008 WL 4107159, *12 (marks

protected by incontestable registrations are entitled to strong protection); see also

Video Pipeline, Inc. v. Buena Vista Home Entm’t, Inc., 275 F. Supp. 2d 543, 571

(D.N.J. 2003) (marks were considered strong where they were used continuously for

years and were well-known in relevant customer group). And the strength of the

University Marks was confirmed by the consumer surveys constructed by Plaintiff’s

expert David Franklyn. (SMF ¶¶ 114-117, 138-140). In both surveys, consumers

recognized the University Marks as trademarks signifying Penn State. Id.; see also

Video Pipeline, 275 F. Supp. 2d at 571.

      The price of the goods (factor 3) here is low, with both parties selling

merchandise at modest prices within the same price brackets—for instance, t-shirts

and hats for under $30; koozies and magnets for under $10; and sweatshirts for under

$50 per item. (SMF ¶ 130). These goods are inexpensive, and customers purchasing

such products are unlikely to pay close attention or spend significant time during the

purchase process. See Brockum Co., A Div. of Krimson Corp. v. Blaylock, 729 F.

Supp. 438 (E.D. Pa. Jan. 31, 1990) (“T-shirts are relatively inexpensive items of


                                          21
apparel and, as such, are unlikely to be the object of careful and intensive scrutiny

by a prospective purchaser”); World Wrestling Fed’n Entm’t. Inc. v. Big Dog

Holdings, Inc., 280 F. Supp. 2d 413 (E.D. Pa. Mar. 10, 2003); Bd. of Supervisors for

Louisiana State Univ. Ag. and Mech. College v. Smack Apparel Co., 550 F.3d 465,

474 (5th Cir. 2008) (accepting the district court’s determination that “a likelihood of

confusion existed because the shirts, which are relatively inexpensive, are not

purchased with a high degree of care by consumers”).

      Lapp factor 5 (Defendants’ intent) also indicates confusion. Under this

factor, “evidence of intentional, willful and admitted adoption of a mark closely

similar to the existing marks weighs strongly in favor of finding the likelihood of

confusion.” Checkpoint, 269 F.3d at 286 (internal quotation marks omitted).

Defendants have conceded that they conducted preclearance trademark searches,

looking at records from the United States Patent and Trademark Office and searching

websites like fanatics.com to see some of the products Penn State sells and to learn

about the University’s actual use. (SMF ¶¶ 144-146). Thus, by their own admission,

Defendants knew that they were using Penn State’s registered trademarks and chose

to willfully infringe.   Similarly, Vintage Brand continued selling Penn State

merchandise even after receiving a cease and desist letter from Penn State, and did

not stop until Penn State brought a lawsuit. (SMF ¶¶ 151-156). This further

indicates bad intent, driving up the burden on Penn State before they would respect


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Penn State’s rights. Kos Pharmaceuticals, Inc. v. Andrx Corp., 369 F.3d 700, 721

(3d Cir. 2004) (in examining intent, it is relevant to consider whether defendant

persisted in adopting mark after being warned of potential infringement); Nat’l

Football League Props., Inc. v. New Jersey Giants, Inc., 637 F. Supp. 507, 518

(D.N.J. 1986) (continued use of marks after receiving cease and desist letters and

defendant’s hope to be bought out by plaintiff manifested bad faith).

      The evidence of Defendants’ bad intent (Lapp factor 5) goes on. Defendants’

business strategy is to use Penn State’s trademarks to attract customers and

purchases, and to not to stop unless forced. This shows an intent to infringe. See

Univ. of Ga. Athletic Ass’n v. Laite, 756 F.2d 1535, 1536-37, 1545 (11th Cir. 1985)

(finding bad intent where defendant offered beer under brands and logos similar to

those of many college football teams, and defendant’s marketing plan reflected that

sales would come “not because the beer tastes great, but because the cans would

catch the attention of University of Georgia football fans.”); AVS Found., 2011 WL

6056903, at *7 (finding bad intent by defendant under Lapp analysis where

defendant printed t-shirts bearing the mark THE TERRIBLE T-SHIRT A

PITTSBURGH ORIGINAL even though he knew he lacked permission from the

Pittsburgh Steelers and “kn[ew] that the targeted market of Pittsburgh Steelers fans

might view this as a authorized product”). Furthermore, Defendants are serial

infringers (SMF ¶¶ 147-155), which also evidences bad faith. See Sabinsa Corp. v.


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Creative Compounds, LLC, 609 F.3d 175, 187-88 (3d Cir. 2010) (bad intent can be

shown where evidence is defendant sought to intentionally confuse consumers “and

thereby capitalize on the senior user’s goodwill”).

      In all, given that the Lapp factors tip so heavily in favor of a likelihood of

confusion, summary judgment should be granted to Penn State. See, e.g., AVS

Found., 2011 WL 6056903, at *1-8 (analyzing likelihood of confusion under the

Lapp factors and granting summary judgment on Lanham Act trademark

infringement claims); see also New Balance, 424 F. Supp. 3d at 349-50 (same).

             2. Defendants Are Liable for Trademark Counterfeiting (Count
                II)

      Summary judgment should also be granted to Penn State on Count II for

counterfeiting the Registered Marks. Counterfeiting is “the act of producing or

selling a product with a sham trademark that is an intentional and calculated

reproduction of the genuine trademark.” Louis Vuitton Malletier & Oakley, Inc. v.

Veit, 211 F. Supp. 2d 567, 581 (E.D. Pa. 2002) (Reed, Jr., J.) (quoting Playboy

Enters., Inc., 1998 WL 767440, at *7). To establish trademark counterfeiting, a

plaintiff must show that: “(1) defendants infringed a registered trademark in

violation of the Lanham Act, 15 U.S.C. § 1114(1)(a), and (2) intentionally used the

trademark knowing that it was counterfeit or was willfully blind to such use.”

Chanel, Inc. v. Gordashevsky, 558 F. Supp. 2d 532, 536 (D.N.J. 2008) (footnote

omitted). For purposes of a trademark counterfeiting claim, a “counterfeit” is “a


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spurious mark which is identical with, or substantially indistinguishable from, a

registered mark.” 15 U.S.C. § 1127; id. § 1116(d)(1)(B)(ii). A finding of intentional

trademark infringement using an identical or near identical mark is sufficient to show

counterfeiting. Chanel, 558 F. Supp. 2d at 536-37 (D.N.J. 2008); Coach, Inc. v. Bag

Place, Co., No. 10-6226, 2012 WL 13028160, *5 (D.N.J. May 7, 2012) (finding first

element of counterfeiting established based on prior conclusion that summary

judgment would be granted on trademark infringement). Therefore, Penn State

incorporates its analysis supra regarding Defendants’ intentional use of identical or

nearly identical marks on merchandise that they sell in direct competition with Penn

State. See supra, § V.A.1 and SMF ¶ 162 (showing use of University Marks on

registered goods on Vintage Brand merchandise). As Defendants quite literally

copied and scanned Penn State’s trademarks appearing on legitimate merchandise

over onto their own unauthorized merchandise (SMF ¶¶ 74-80), there is no dispute

that Defendants intentionally used a counterfeit mark, and are thus liable, as a matter

of law, for counterfeiting.

             3. Defendants Are Liable for False Endorsement (Count IV)

      Judgment should be granted to Penn State as a matter of law on Count IV.

This claim, brought under 15 U.S.C. § 1125(a)(1)(A), differs from Penn State’s other

claims for infringement and unfair competition, which are claims for trademark

infringement through which a plaintiff can recover for infringement of unregistered



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marks provided it proves common law ownership of a protectable mark. See Dastar

Corp. v. Twentieth Century Fox Film Corp., 539 U.S. 23, 29 (2003) (one function of

§ 1125(a) is to “create[e] a federal cause of action for traditional trademark

infringement of unregistered marks” but noting that this section “is one of the few

provisions [of the Lanham Act] that goes beyond trademark protection” as well).

      Section 1125(a)(1)(A) is broader than just trademark infringement claims,

however, and extends to the use of other indicia that falsely suggests a connection

or endorsement. See id.; Facenda v. N.F.L. Films, Inc., 542 F.3d 1007, 1019-20 (3d

Cir. 2008) (articulating modified set of Lapp factors to apply in claim that defendant

used plaintiff’s voice to falsely convey that plaintiff sponsored the product); Food

Sciences Corp. v. Nagler, No. CIV. 09-1798 JBS KMW, 2010 WL 4226531, at *5

(D.N.J. Oct. 20, 2010) (modified factors in claim that a former authorized distributor

of plaintiff’s products was selling remaining stock through an infringing website that

falsely conveyed plaintiff’s sponsorship). The case law shows that the Lapp factors

should be modified as appropriate to fit the type of claim, and on a false endorsement

claims (such as here), the factors focus on looking at: (1) similarity between the way

the parties market their goods; (2) similarities between the goods and whether

consumers would associate them; (3) whether any confusion has occurred;

(4) defendant’s intent; (5) extent to which defendant’s target customers recognize

plaintiff; and (6) extent to which the plaintiff’s fame and success is necessary for the


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defendant’s goods. See Facienda, 542 F.3d at 1019-20; Food Sciences, 2010 WL

4226531, at *5. See also Bandag, Inc. v. Al Bolse’s Tire Stores, Inc., 750 F.2d 903,

912 (Fed. Cir. 1984).

      Applying these factors here, the evidence shows that—much like the analysis

of the traditional Lapp factors—Defendants’ website and uses of the University

Marks free ride off of the University’s fame and reputation and mislead consumers

about whether Penn State has endorsed or sponsored those goods. In particular,

Defendants use indicia associated with the University both on their products and

throughout their website (as well as verbiage about the University) to falsely

suggests an endorsement by the University. This deceives consumers, as consumers

looking for Penn State merchandise who land on Vintage Brand’s website are likely

to believe that they are perusing genuine merchandise. Examples are shown below:




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(SMF ¶¶ 100-101). See March Madness Athletic Ass’n, LLC v. Netfire, Inc., 310 F.

Supp. 2d 786, 812-13 (N.D. Tex. 2003) (finding likely confusion caused by

defendant using domain marchmadness.com because website was likely to give

consumers impression that it was affiliated with or authorized by NCAA).

      Defendants will likely point to “disclaimer” language appearing on their

website to argue in defense. But this language is of no help here because the

undisputed evidence shows that consumers do not read this language, by design.

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Dominic DeLong, who designs the user interface for the Vintage Brand website,

explained that the site follows “best practice[s]” of “usually hid[ing] at least half of

it”, referring to Vintage Brand’s legalese, and why the website requires users to

actually click small boxes in read disclaimers. (SMF ¶¶ 107-110). Similarly, a

customer identified through Vintage Brand’s discovery testified that she has shopped

on Vintage Brand’s website and never noticed any disclaimer language. (SMF

¶ 112). And the consumer survey conducted by Vintage Brand’s own expert showed

that disclaimers had no meaningful impact on confusion rates. (SMF ¶ 111). All of

the evidence on record, then, shows that the disclaimer language on Vintage Brand’s

site has no material bearing here, and does not ameliorate confusion.

      As Defendants’ conduct extends beyond trademark infringement to

encompass false endorsement and unfair competition, summary judgment should be

granted on Count IV of Plaintiff’s claims.

             4. Defendants’ Infringement is Willful
      There is no reasonable dispute regarding Defendants’ willful and intentional

use of the University Marks. “Willful conduct can be established through ‘deliberate

and unnecessary duplicating of a plaintiff’s mark … in a way that was calculated to

appropriate or otherwise benefit from the good will the plaintiff nurtured.’” Coach,

Inc., 2012 WL 13028160, at *5 (quoting Securacomm Consulting, Inc. v. Securacom

Inc., 166 F.3d 182, 187 (3d Cir. 1999).



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      Here, Defendants physically copied and applied exact or nearly exact

duplicates of Penn State’s Registered Marks to their merchandise. Supra § V.A.1.b.

And many of the items that Defendants sell contain multiple trademarks owned by

Penn State, (such as images with both the PENN STATE word mark and the Pozniak

Lion Logo (SMF ¶ 113 at pp. 58-59)), which underscores that Defendants’ intent is

to appropriate the University’s goodwill. See Coach, Inc., 2012 WL 13028160, *5

(granting summary judgment to plaintiff on counterfeiting, stating: “Here, the fact

that the Infringing Products contained multiple Coach Trademarks demonstrates that

such was calculated to appropriate the good will nurtured by Plaintiff.”).

      In addition, Defendants’ business model highlights their ill intent. Vintage

Brand’s founders and owners all worked at Sportswear for years before founding

their new venture. (SMF ¶ 86). Sportswear has engaged in licensing deals with

universities, and Chad Hartvigson testified that he is familiar generally with the

process for collegiate licensing. (SMF ¶¶ 143). Simply put—Defendants knew they

were required to get permission to use university trademarks, but they got tired of

doing so and paying the requisite licensing fees, so they decided to steal those

trademarks instead. Equally offensive, Defendants have not limited their predatory

conduct to large universities. Defendants have sold counterfeit merchandise from

small colleges, religious high schools, and cash-strapped public school systems, all

of which have been forced to sue the Defendants to protect their names from


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exploitation. (SUMF ¶¶ 147-149). Defendants’ conduct is entirely willful. (SMF

¶¶ 74-80, 141-162).

      Defendants chose to flout trademark law in running the Vintage Brand

business.   Defendants have expressed their personal opinions that intellectual

property protections in the collegiate space are “monopolistic antitrust violations”,

suggesting that Defendants’ motivation in pursuing Vintage Brand’s no-licensing

business plan reflect Defendants’ own opinions about what the law should be. 5

(SMF ¶¶ 144, 150). This is no matter. Trademark law, as codified by Congress

through the Lanham Act, is designed in part to ensure that trademark owners “‘and

not an imitating competitor[] will reap the financial, reputation-related rewards’ of

their products.” Qualitex Co. v. Jacobson Prods. Co., Inc., 514 U.S. 159, 164

(1995). Defendants deliberately chose to use usurp those rights, and to use Penn



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  Defendants’ opinions about what the law should be appear to echo the opinions put
out by some of Defendants’ attorneys. Their attorneys—including Mark McKenna
who has appeared (Dkt. 106) and others from Lex Lumina who have not entered
appearances, like Chris Sprigman, actively publish articles in law reviews. And
while these professors routinely cite each other (and themselves) for support, they
also regularly recognize that their opinions do not reflect the current state of the law.
See, e.g., Mark A. Lemley & Mark McKenna, Irrelevant Confusion, 62 Stan. L. Rev.
413, 425 (2010) (in article advocating for more restrictive views of trademark
protection, recognizing that Congressional amendments to the Lanham Act and case
law provide broader trademark protection such as protection against confusion as to
sponsorship and affiliation); Mark A. Lemley & Mark McKenna, Owning Mark(et)s,
109 Mich. L. Rev. 137, 139, 148 (2010) (in article seeking to restrict scope of
trademark rights, recognizing that “courts have accepted that sports teams should
have such exclusive licensing rights” but advocating to adopt a new analysis).

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State’s marks, without permission, to generate profit.          This is textbook

counterfeiting.

      B. Judgment Should be Granted to Penn State on the Counterclaims and
         Affirmative Defenses.

             1.    Defendants Cannot Support Their Ornamentality
             Challenges (Affirmative Defenses 7-8; Counterclaim Count II)

      Defendants assert in affirmative defenses that the University Marks at issue

in this case are merely ornamental and “do[] not engender the commercial

impression of a source-identifying trademark” both as they are used by Penn State

and by Vintage Brand. See Dkt. 72 at 40. Along the same lines, Vintage Brand also

brings a counterclaim to cancel Penn State’s two contestable registrations for PENN

STATE (Registration No. 5,766,698) and the University Seal (Registration No.

5,877,080) as being merely ornamental. Id. at 47-50.

      Defendants bear the burden of proof on their affirmative defenses and their

invalidity Counterclaim. See David’s Bridal, Inc. v. House of Brides, Inc., No. 06-

cv-5660, 2010 WL 323306, at *7 (D.N.J. Jan 20, 2010) (defendant bears burden to

prove affirmative defenses on Lanham Act claims and plaintiff moving for summary

judgment satisfies its own burden as moving party by simply asserting absence of

evidence supporting defense). Defendants have not met this burden, therefore

judgment should be granted to Penn State on these defenses and counterclaim for

multiple independent grounds.



                                        33
                       a. Penn State’s Incontestable Registrations Preclude
                          Defendants’ Ornamentality Challenges
      First, Defendants are barred from asserting invalidity based on “mere

ornamentation” for those University Marks where Penn State owns incontestable

registrations. Incontestable registrations are “conclusive evidence of the validity of

the registered mark” and cannot be invalidated based on ornamentality. 15 U.S.C.

§ 1115(b); Park ‘N Fly, Inc. v. Dollar Park & Fly, Inc., 469 U.S. 189, 205 (1985)

(holding that in infringement suit, defendant may not challenge incontestable

registration on a ground not enumerated in 15 U.S.C. § 1115(b)). This provision

similarly bars Defendants from challenging Penn State’s contestable registrations as

merely ornamental where those marks are identical to incontestably registered

marks. See supra pp. 3-4; Marketquest Grp., Inc. v. BIC Corp., 316 F. Supp. 3d

1234, 1264 (S.D. Cal. 2018) (“It is an ‘idle’ act to cancel a contestable registration

when the party holding it has an incontestable registration which protects ‘the most

salient feature’ of the contestable registration.” (and collecting cases)). Specifically,

Penn State’s contestable registration for PENN STATE in connection with various

types of apparel and merchandise (Reg. No. 5,766,698) is for the same types of

goods as Penn State’s earlier federal Registration No. 1,308,610 for PENN STATE,

which is incontestable. (SMF ¶¶ 9-11). Similarly, Penn State’s Registration No.

5,877,080, for the University Seal in connection with various merchandise is for the

same types of goods as Penn State’s earlier incontestable federal Registration No.


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1,276,712 for the University Seal. (SMF ¶¶ 43-45). Thus, Defendants’ affirmative

defense of mere ornamentation fails with regards to the TPSU Mark, Penn State

Mark, Lion Shrine Logo, and the University Seal, all of which are protected by

incontestable registrations. See supra pp. 3-4.

                       b. Defendants Offer No Evidence That the University
                          Marks Are Perceived as Mere Ornamentation

      Second, judgment should be granted as a matter of law to Penn State on these

defenses and Count II of the Counterclaims because there is no evidence here that

Defendants could use to show the marks are merely ornamental. Celotex Corp. v.

Catrett, 477 U.S. 317, 325 (1986). With respect to Plaintiff’s registered trademarks,

those trademarks are presumed valid (see 15 U.S.C. § 1057(b)), and Defendants bear

the burden to overcome that presumption. N.V.E., Inc. v. Famous, No. CIV.A.08-

1633(FLW), 2009 WL 2194538, at *3 (D.N.J. July 22, 2009) (where plaintiff owns

trademark registrations, defendant bears burden to rebut presumed validity of

registrations). The United States Patent and Trademark Office (“USPTO”) already

found, by issuing the registrations, that all of the registered University Marks are not

ornamental as applied to merchandise.          See TMEP § 1202.03 (directing that

examining attorney evaluating registrability of a trademark application must

consider the proposed mark “as applied to the goods, to determine whether

ornamental matter serves a trademark function” and can be protectable (emphasis

added)).


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      Given the presumption that the University Marks are not merely ornamental,

in order for Defendants to prevail on this defense, they would need to cite to evidence

in the record that consumers do not perceive the University Marks as source-

identifiers when used on merchandise. See Macy’s Inc. v. Strategic Marks, LLC,

No. 11-CV-06198-EMC, 2016 WL 374147, at *5 (N.D. Cal. Feb. 1, 2016)

(defendant must present factual evidence to show that consumers do not perceive a

mark as serving any source-identifying function in order to succeed on defense that

mark is merely ornamental). This, Defendants cannot do. The only evidence in the

record directly related to how consumers view the University Marks here shows that

they are viewed as trademarks. A consumer survey conducted by expert David

Franklyn directly probed whether relevant consumers view the University Marks, as

used on merchandise, to be trademarks. That survey found a significant percentage

of consumers—45% to 70%—perceived these marks to be trademarks. (SMF

¶¶ 114-117). There is no evidence in the record indicating that consumers view these

marks as decorative elements, and Defendants cannot prevail on their second

counterclaim or seventh and eighth affirmative defenses.

                       c. Use of Trademarks on Merchandise to Indicate a
                          Secondary Source is not Mere Ornamentation

      Defendants do not even attempt to argue (because they cannot) that the

University Marks are merely ornamental as registered for educational services. Dkt.

72, ¶¶ 15-22. In fact, the University Marks are widely recognized by the consuming


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public as signifying the University and its educational and athletics programs. (SMF

¶¶ 1, 5, 114-117). It is well established that when ornamental matter serves as an

identifier of a “secondary source,” it is registrable (and not merely ornamental) in

connection with those goods and services. In re Paramount Pictures Corp., 213

U.S.P.Q. 1111, 1112 (T.T.A.B. 1982) (“The ‘ornamentation’ of a T-shirt can be of

a special nature which is [sic] inherently tells the purchasing public the source of the

T-shirt, not the source of manufacture but the secondary source.”) (citing In re Olin

Corporation, 181 U.S.P.Q. 182, 1973 WL 19761 (T.T.A.B. 1973) (“Thus, the name

“New York University” and an illustration of the Hall of Fame, albeit it will serve

as ornamentation on a T-shirt will also advise the purchaser that the university is the

secondary source of that shirt.”)). The Trademark Manual of Examining Procedure

(“TMEP”) specifically contemplates that marks for educational services such as the

University Marks are valid and registrable in connection with merchandise. TMEP

§ 1202.03 (stating that marks that serve source-identifying functions when used with

educational services are non-ornamental and registrable when applied to

merchandise). All of the surveys conducted by the University in this case further

confirm that consumers readily assume that the University is, if not the source, at a

minimum the sponsor of, merchandise which bears the University Marks. (SMF

¶ 114-117, 138-140). Because the University Marks serve as indicators of secondary

source, they cannot, as a matter of law, be deemed “merely ornamental.”


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                        d. Respectfully, this Court Does Not Have Jurisdiction to
                           Cancel Penn State’s Trademark Registrations Based on
                           an “As Applied” Ornamentation Challenge

      As the Court previously acknowledged, Vintage Brand’s Counterclaim II, to

cancel the Penn State Mark Registration No. 5,766,698 and the University Seal

Registration No. 5,877,080 is an “as applied” challenge, not an allegation that the

word mark PENN STATE or the University Seal are so inherently ornamental that

they could never be perceived as trademarks in any context (in contrast, for example,

to a checkered pattern on a tablecloth). Pennsylvania State Univ. v. Vintage Brand,

LLC, 614 F. Supp. 3d 101, 104 n.17 (M.D. Pa. 2022). However, by seeking to cancel

Penn State’s registrations in their entirety based on an “as applied” challenge,

Vintage Brand improperly asks the Court to exceed its jurisdiction under the Lanham

Act and to invade the exclusive province of the examining attorney at the USPTO.

While district courts are empowered to cancel registrations, the Lanham Act only

authorizes the examiner at the USPTO to decide if the mark ‘as applied’ to a

particular specimen is trademark use sufficient to support registration. See 15 U.S.C.

§ 1051(d) (directing USPTO to examine statements of use); § 1119 (describing

authority of district court over registrations).

      Vintage Brand’s Counterclaim expressly details that it is alleging that the use

of the aforementioned marks on the specimens accepted by the USPTO in support

of Registration Nos. 5,766,698 and 5,877,080 is merely ornamental. See Dkt. 72



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¶¶ 19 (challenging PENN STATE specimens), 21 (challenging University Seal

specimens).    However, the examination of specimens is the province of an

examining attorney, guided by the applicable regulatory guidelines. See 37 C.F.R.

§ 2.56 (setting requirements for how specimen may show use). For example, the

examination process specifically contemplates that an applicant can “cure” a

specimen that is deemed ornamental, by submitting an alternate specimen to the

examiner in order to support the registration. Id. § 2.59 (permitting substitute

specimens to evidence trademark use).

      Unlike the examining attorney, a district court is not charged with examining

trademarks in the first instance. A district court’s power to cancel registered marks

is restrained, under 15 U.S.C. § 1119, to determining the “right to registration”, and

does not exceed the authority granted to the USPTO. See Marshak v. Treadwell,

240 F.3d 184, 193 (3d Cir. 2001) (determining that district court’s authority over a

cancellation proceeding may not be broader than the USPTO’s authority); Ditri v.

Coldwell Banker Residential Affiliates, Inc., 954 F.2d 869, 874 (3d Cir. 1992).

Whether or not specimens are acceptable, however, is not reviewable by the USPTO

(or by the district court). See Century 21 Real Est. Corp. v. Century Life of Am., 10

U.S.P.Q.2d 2034, 1989 WL 281901, at *1-2 (T.T.A.B. 1989). In the process of

examining a trademark, specimens are used “to show the mark as it is actually used,

so that it can be determined whether the matter for which registration is sought is


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being used as a trademark or service mark.” Id. at *2 (citing 15 U.S.C. § 1051).

Where the examining attorney has accepted the specimens and found they showed

trademark use, the TTAB (which serves as the judicial arm of the USPTO) may not

review this decision. Id. (“[F]or both legal and equitable reasons, we reaffirm our

prior decision that unacceptable specimens are not a proper ground for opposition”

and noting that reviewing this decision would be unfairly prejudicial to the registrant

who would now lack the ability to submit substitute specimens of use).

      Respectfully, the Court here is similarly limited. Ditri, 954 F.2d at 874.

Vintage Brand is asking the Court to exceed the specific authority granted to district

courts under the Lanham Act with respect to registered marks. See 15 U.S.C. § 1119.

Vintage Brand’s as-applied challenge is not a determination of whether Penn State

has “the right to registration” for the PENN STATE Mark and the University Seal;

it is simply an attack on the examining attorney’s decision about whether the

specimens submitted show trademark use. Because Vintage Brand’s counterclaim

here seek relief outside the scope of the Court’s authority, judgment should be

granted to Penn State as a matter of law.

             2. Defendants’ Cancellation Counterclaim as to Registrations for
                the University Seal is Insufficient as a Matter of Law

      Vintage Brand also sets out a counterclaim that Penn State’s registrations for

the Penn State Seal (U.S. Reg. Nos. 1276712 and 5877080) should be cancelled

because the Seal incorporates the Pennsylvania Coat of Arms. Dkt. 72 at 45-47. To


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succeed on this claim, Vintage Brand bears the burden of showing that the Lanham

Act prohibits the registrations in question because the marks consist of or comprise

“the flag or coat of arms or other insignia” belonging to Pennsylvania, “or any

simulation thereof.” 15 U.S.C. §§ 1052(b), 1064(3). In comparing the registered or

applied-for mark (whether registered in color or in black and white) and the

purported government insignia, the focus should be on: “(1) color; (2) presentation

of the mark; (3) words or other designs on the drawing; and (4) use of the mark on

the specimen(s).” In Re Alabama Tourism Dep’t, No. 87599292, 2020 WL 2301221,

at *3 (TTAB May 6, 2020) (citing TMEP §1204.01(a)).

      Here, the record does not contain evidence that would support Vintage

Brand’s claim, meaning that judgment should be granted to Penn State. Celotex

Corp., 477 U.S. at 325. The visual differences between the University Seal and the

Pennsylvania Coat of Arms means that the Seal is not subject to the government

insignia prohibition. The Coat of Arms, which appears on the Pennsylvania flag, is

square in shape, features black, brown, light blue, green, gold, and yellow elements

against a rich blue background. See Dkt. 72 at 46. The University Seal, by contrast,

has an overall different appearance in that it contains several concentric circles, with

fluting along the outer circle, the words “THE PENNYSLVANIA STATE

UNIVERSITY” (the same as the incontestable TPSU Mark) and the date “1855”,

and specimens and other evidence of actual use show that the Seal is not used with


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different colors. (SMF ¶¶ 42, 47). Evidence of actual use shows that the University

Seal is nearly always used in solid colors, often engraved onto an item. (SMF ¶ 47).

Further, Penn State’s branding guidelines expressly prohibit isolating the interior

portion of the Seal, ensuring that the inner elements similar to the Coat of Arms are

not dominant. (SMF ¶ 50). These visual differences between the Coat of Arms and

the University Seal mean that the Seal does not fall within the scope of 15 U.S.C.

§ 1052(b).

       Pennsylvania Coat of Arms                        University Seal




      In its Answer—which is the only place where Vintage Brand has submitted

information to support this counterclaim—Vintage Brand confuses the issues by

including images of seals that are used by various governmental units and

departments in Pennsylvania and alleges that the University Mark is visually similar

to those. Dkt. 72 at 47. However, those allegations are insufficient to avoid

summary judgment here, because those seals from state agencies are not the

government insignia at issue here.      See id. (stating that the University Seal

registrations should be cancelled because their “primary feature [is] the Coat of


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Arms”). The Lanham Act’s prohibition on registering insignia is not so broad as to

cover seals or marks from state departments or agencies. City of New York v. Blue

Rage, Inc., 435 F. Supp. 3d 472, 487 (E.D.N.Y. 2020) (interpreting scope of 15

U.S.C. § 1052(b)). Therefore, Vintage Brand’s references to similarities between

the University Seal and seals from departments and agencies within the

Pennsylvania government are irrelevant. Id.

      The Blue Rage case is instructive here. There (as here), an alleged trademark

infringer asserted counterclaims seeking to cancel registrations used by the New

York Police Department, relying on the government insignia bar. Id. at 477-79, 487-

88. One of the registered marks (the NYPD shield) was accused of being improperly

registered because it bore similarities to a seal for the City of New York, which the

court found did fall within the government insignia ban. Id. at 487-88. Nonetheless,

the Blue Rage court found that the NYPD shield was not improperly registered

because while that Shield bore elements in common with the City seal, it had

differences too—the overall mark was a different shape than the seal and added

elements that were not present in the seal. Id. at 488. The Court noted that “[m]ere

use of select elements from the City Seal does not convert the NYPD Shield into an

“insignia” within the meaning of the Lanham Act.” Id. at 488.




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         The University Seal is visually distinct from the Pennsylvania Coat of Arms,

and thus is valid, and cannot be cancelled under the Lanham Act. Count I of

Defendants’ Counterclaims should be dismissed as a matter of law.

                             VI.    CONCLUSION

         Defendants are serial infringers and counterfeiters who have spent years

profiting off of the hard-earned reputations of educational institutions of all sizes.

They have often gotten away with it, because intellectual property litigation is a cost

that many educational institutions cannot afford. Even so, with respect to those few

institutions that have had the resources to fight, Defendants have repeatedly been

found liable for trademark infringement. And yet Defendants brazenly continue on,

in hopes that they can convince a court to ignore the Lanham Act’s statutory

prohibitions and create a new judicially sanctioned avenue for misappropriation of

intellectual property.

         However, Defendants’ novel legal arguments cannot overcome the mountain

of evidence that they have used Penn State’s exact registered marks on the registered

goods without permission. Nor have Defendants ever been able to adduce any

evidence to show that Penn State’s marks are invalid, as the consuming public

unquestionably views the University Marks as famous trademarks, belonging

exclusively to Penn State. Defendants are garden-variety counterfeiters,6 unique


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    Returning to the quiz Penn State set out in the beginning, the answers are:

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only in their willingness to drag these cases through the courts. Summary judgment

should be granted for Penn State on Counts I-IV, and VII of its Second Amended

Complaint, and Defendants’ Counterclaims 2-37 and 7-8 should be stricken.


Dated: June 2, 2023


                                     Respectfully submitted,

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7
 Defendants consent to Penn State’s motion for judgment as a matter of law on
their affirmative defenses based on the statute of limitations and laches.

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                         CERTIFICATE OF SERVICE

      I hereby certify that I electronically filed the foregoing Brief in Support of

Penn State’s Partial Motion for Summary Judgment with the Clerk of the Court using

the CM/ECF system on June 2, 2023, which constitutes service on Defendants

pursuant to Fed. R. Civ. P. 5(b)(2)(E):


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